     Case 2:14-cr-00168-TOR              ECF No. 1392         filed 12/07/15      PageID.7429 Page 1 of 2
PROB 12C                                                                              Report Date: December 4, 2015
(7/93)

                                         United States District Court                             FILED IN THE
                                                                                              U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF WASHINGTON

                                                         for the
                                                                                              12/7/15
                                           Eastern District of Washington                    SEAN F. MCAVOY, CLERK



                      Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Christopher D. Haffner                     Case Number: 0980 2:14CR00168-TOR-20
 Address of Offender:                                Spokane, Washington 99223
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: June 1, 2015
 Original Offense:          18 U.S.C. §§ 1344, 1349 Conspiracy to Commit Bank Fraud
 Original Sentence:         Prison - 6 months;                Type of Supervision: Supervised Release
                            TSR - 36 months
 Asst. U.S. Attorney:       George Jacobs, III                Date Supervision Commenced: July 13, 2015
 Defense Attorney:          Federal Defenders Office          Date Supervision Expires: July 12, 2018


                                           PETITIONING THE COURT

                     To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number          Nature of Noncompliance

           1 and 2        Special Condition # 14: You shall abstain from the use of illegal controlled substances, and
                          shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                          supervising officer, but no more than six tests per month, in order to confirm continued
                          abstinence from these substances.

                          Supporting Evidence: Mr. Haffner violated his conditions of supervision in Spokane,
                          Washington, by using a controlled substance on or about October 5, 2015. He provided a
                          urinalysis test at Alcohol Drug Education Prevention and Treatment (ADEPT) on or about
                          October 5, 2015. The urine sample tested presumptive positive for the presence of marijuana
                          and was sent to Alere Toxicology for further testing. Mr. Haffner signed a drug use
                          admission form on October 5, 2015, admitting to the use of marijuana. On October 11,
                          2015, the urine sample returned from Alere Toxicology showing a positive result for
                          marijuana.
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